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 1 BRUCE LOCKE
   Moss & Locke
 2 555 University Avenue, Ste 170
   Sacramento, California 95825
 3
   Attorney for Defendant
 4 DONALD EDGECOMB
 5
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                                EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA                  §
10                                             §
   V.                                          §      Case No. 2:06-cr-00200-MCE
11                                             §
   DONALD EDGECOMB,                            §      STIPULATION AND ORDER
12                                             §      TO ALLOW DEFENDANT
                                               §      TO TRAVEL TO TENNESSEE
13                                             §      TO ASSIST HIS PARENTS
   _____________________________________
14
           IT IS HEREBY STIPULATED AND AGREED between the United States of America and
15
   the defendant, Donald Edgecomb, through their respective attorneys, that Mr. Edgecomb is authorized
16
   to travel from his home in Wisconsin to Hilham, Tennessee on April 18, 2008 to assist his parents
17
   to move into their new home. Mr. Edgecomb will return to Wisconsin on April 21, 2008. Mr.
18
   Edgecomb’s mode of transportation will be his 2004 Silver Jeep Grand Cherokee, license
19
   WI 606 JSY. Mr. Edgecomb will have his cell phone with him - 414-207-2433.
20
                                                      Respectfully submitted,
21
22
     Dated: April 15, 2008                              /s/ Bruce Locke_____________
23                                                      Bruce Locke
                                                        Attorney for Donald Edgecomb
24
25
26
27
28
      Case 2:06-cr-00200-MCE Document 106 Filed 04/17/08 Page 2 of 2


 1 Dated: April 15, 2008                      /s/ Bruce Locke for Anne Pings
                                              ANNE PINGS
 2                                            Assistant United States Attorney
 3
 4        IT IS SO ORDERED.
 5
     Dated: April 16, 2008
 6
                                       ________________________________
 7                                     MORRISON C. ENGLAND, JR.
                                       UNITED STATES DISTRICT JUDGE
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